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   8                          UNITED STATES DISTRICT COURT
   9                         CENTRAL DISTRICT OF CALIFORNIA
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  11 MICHAEL RAZIANO, BRIAN                   No. 2:19-cv-04373-JAK-AS
     TRAISTER, and CHRIS VALDEZ, on
  12
     behalf of themselves and all others
  13 similarly situated,
                                              JUDGMENT
  14
               Plaintiffs,
  15
  16   v.                                     JS-6

  17 ALBERTSON’S LLC, a Delaware
     Limited Liability Company; and DOES
  18
     1 through 50, Inclusive,
  19
              Defendants.
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   1         The Parties reached a settlement subject to Court approval as represented in
   2   the Settlement Agreement that was filed previously with this Court. This Court
   3   conducted a final approval hearing pursuant to this Court’s previous Order Re
   4   Plaintiffs’ Motion for Preliminary Approval of Class Action Settlement (the
   5   “Preliminary Approval Order” (Dkt. 96)) and granted Plaintiffs’ Motion for Final
   6   Approval of Class Action Settlement and Plaintiffs’ Motion for Order Granting
   7   Award of Attorneys’ Fees, Costs, Service Payments, and Administration Expenses
   8   (the “Final Approval Order” (Dkt. 106)). Therefore,
   9         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:
  10         1. Based on a review of Plaintiffs’ Notice of Non-Objections by Government
  11            Officials Pursuant to Class Action Fairness Act (Dkt. 107), the stay of the
  12            Final Approval Order is lifted.
  13         2. The Court finds there is jurisdiction over the parties to this action,
  14            including all Class Members.
  15         3. Judgment is entered whereby Plaintiffs and Class Members, except those
  16            who excluded themselves from the Settlement, shall take from Defendant
  17            only as expressly set forth in the Class Action Settlement, as approved in
  18            the Final Approval Order.
  19         4. The Court reserves exclusive and continuing jurisdiction over this action,
  20            Plaintiffs, Class Members and Defendant, for the purposes of:
  21               a. supervising the implementation, enforcement, construction and
  22                   interpretation of the Settlement, the Preliminary Approval Order,
  23                   the plan of allocation, the Final Approval Order and this Judgment;
  24                   and
  25               b. supervising distribution of amounts paid under this Settlement.
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   1          5. This action is dismissed with prejudice, with each party to bear its own
   2             costs and attorney’s fees, except as otherwise provided by the Settlement
   3             Agreement and the Final Approval Order.
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       IT IS SO ORDERED.
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       Dated: July 27, 2021
   9                                            John A. Kronstadt
  10                                            United States District Judge
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